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                               UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


                                             )      Civil Action No. 1:25-cv-10495
 Svitlana Doe, et al.,                       )
                                             )
                Plaintiffs,                  )
                                             )
 v.                                          )      Motion For Leave To Exceed Page Limit
                                             )
 Kristi Noem, in her official capacity as    )
 Secretary of Homeland Security, et al.,     )
                                             )
                Defendants.                  )
                                             )



        Defendants, by and through their undersigned counsel, respectfully request, that pursuant

to Local Rule 7.1(b)(4), the Court grant this motion to permit Defendants to file a thirty-page

memorandum of law in opposition to Plaintiffs’ motion for preliminary injunction. Plaintiffs have

consented to this relief.
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        Local Rule 7.1(b)(4) authorizes the Court to grant leave to file a memorandum in excess of

the twenty page limit set forth in the rule. Up to thirty pages are needed to respond to Plaintiffs’

motion for preliminary injunction, due to the number of programs and policies challenged (seven),1

the complexity of the legal issues involved, and the scope of the injunction Plaintiffs seek. Further,

this Court previously granted Plaintiffs’ motion for excess pages, and as a result, Plaintiffs have

filed a thirty-page memorandum in support of their motion for a preliminary injunction. Fairness

requires that Defendants have a commensurate opportunity to respond to Plaintiffs’ arguments.

        WHEREFORE, Defendants respectfully request that this Court grant their Motion for

Leave to Exceed Page Limit.


Dated: March 19, 2025                                        Respectfully submitted

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                                                             /s/ Joseph A. Darrow
                                                             JOSEPH A. DARROW
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                                                             Trial Attorneys
                                                             U.S. Department of Justice, Civil Division

1
 The Cuban, Haitian, Nicaraguan and Venezuelan parole programs, United For Ukraine, Central American Minors
Program, Military Parole in Place, Family Reunification parole processes, Operation Allies Welcome, and the Central
American Minors Program.
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                                                 Attorney for Defendants


                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on March 20, 2025, I electronically filed the foregoing with
the Clerk of the Court using CM/ECF, which provided an electronic notice and electronic link
of the same to all attorneys of record.

                                            /s/ Joseph A. Darrow
                                            JOSEPH A. DARROW
                                            Trial Attorney
                                            United States Department of Justice
                                            Civil Division


                            CERTIFICATE OF CONFERENCE


       I HEREBY CERTIFY that Defendants’ counsel conferred with Plaintiffs’ counsel via
email regarding this motion and its basis, pursuant to Local Rule 7.1(a)(2), and Plaintiffs
consented to it.

                                            /s/ Joseph A. Darrow
                                            JOSEPH A. DARROW
                                            Trial Attorney
                                            United States Department of Justice
                                            Civil Division
